Case 3:24-cv-06029-ZNQ-JBD              Document 13-2        Filed 07/24/24       Page 1 of 2 PageID:
                                               315




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

 TYSHON EDWARDS,                                       :
                                                       :
                                          Plaintiff,   :
                                                       :   Case No. 3:24-cv-06029-ZNQ-JBD
                          v.                           :
                                                       :
 CERTAIN UNDERWRITERS AT                               :
 LLOYD’S, LONDON, SUBSCRIBING TO                       :
 POLICY NO. PK1021612, LLOYD’S                         :
 SYNDICATE 2987,                                       :
                                                       :   CERTIFICATION OF ADRIAN T.
                                        Defendant.     :   ROHRER, ESQUIRE

          I, Adrian T. Rohrer, Esquire, of full age, hereby certify as follows:

          1.     I submit this certification in support of the Motion of Defendant, Certain

Underwriters of Lloyd’s London, Subscribing to Policy No. PK1021612, Lloyd’s Syndicate 2987

(“Defendant”), to admit me as counsel pro hac vice for all purposes in the above-captioned

action.

          2.     I am an attorney license to practice law in the State of Illinois. I am a Partner at

BatesCarey, LLP located at 191 N. Wacker, Suite 2400, Chicago, IL 60606.

          3.     Pursuant to L. Civ. R. 101.1(c), I am admitted to practice law before and a

member of good standing of the bar of the courts listed in the table below.

            Court                           Admission Year              Member in Good Standing
       State of Illinois                        2004                              Yes
  Northern District of Illinois                 2012                              Yes
  Central District of Illinois                  2014                              Yes

          4.     I am not under suspension or disbarment by any court, nor are there any pending

disciplinary proceedings against me in any state or federal court. No discipline has previously

been imposed on me in any jurisdiction.
Case 3:24-cv-06029-ZNQ-JBD           Document 13-2         Filed 07/24/24      Page 2 of 2 PageID:
                                            316



         5.     I have reviewed the Local Rules of the United States District Court for the District

of New Jersey and will comply with all said rules, including all disciplinary rules. I also agree to

abide by the provisions set forth in Local Civil Rule 101.1(c). I further agree to submit to this

Court’s jurisdiction for purposes of any disciplinary proceedings.

         6.     I will make the required payment to the New Jersey Lawyer’s Fund for Client

Protection and will comply with the requirements of the New Jersey Court Rules 1:20-1(b), 1:21-

1 and 1:28-2.

         7.     I will make the required payment of $250.00 to the Clerk, United States District

Court.

         8.     For the foregoing reasons, I respectfully request on behalf of Defendant that I be

admitted pro hac vice for the purpose of representing Defendant in this litigation in association

with MacMain Leinhauser PC.

         9.     I hereby certify that the foregoing statements made by me are true. I am aware

that if any of the foregoing statements made by me are willfully false, I am subject to

punishment.


                                                      BatesCarey, LLP


Date: July 24, 2024                           By:     /s/ Adrian T. Rohrer
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